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 4
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 6
 7                         UNITED STATES DISTRICT COURT
 8                      NORTHERN DISTRICT OF CALIFORNIA
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11 Social Positioning Input Systems,               Case No. 4:21-cv-07073-HSG
     LLC,
12
13                Plaintiff,                       NOTICE OF DISMISSAL
14
            v.
15
16 Geozilla, Inc.,
17                Defendant.
18
19
20          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby dismisses this
21 action, without prejudice, as Defendant has served neither an answer or a motion for
22 summary judgment.
23
24                                           Respectfully submitted,
25
     Dated: July 7, 2022                     SML Avvocati P.C.
26
27                                           By:    /s/ Stephen M. Lobbin
                                                    Attorneys for Plaintiff
28
      Case 4:21-cv-07073-HSG Document 38 Filed 07/07/22 Page 2 of 2




1                                     Proof of Serivce
2
3
4        I hereby certify that on July 7, 2022, I electronically transmitted the foregoing
5 document using the CM/ECF system for filing, which will transmit the document
6 electronically to all registered participants as identified on the Notice of Electronic
7 Filing, and paper copies have been served on those indicated as non-registered
8 participants.
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10
                                                         /s/ Stephen Lobbin
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